40 F.3d 1249
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.GEO-CON, INC., Appellant,v.Togo D. WEST, Jr., Secretary of the Army, Appellee.
    No. 94-1123.
    United States Court of Appeals, Federal Circuit.
    Oct. 6, 1994.
    
      On Appeal from the Board of Contract Appeals Army Corps of Engineers in Case No(s).  5749 and 5976.
      AFFIRMED.
      ARCHER, Chief Judge, NEWMAN and MAYER, Circuit Judges.
    
    PER CURIAM
    
      1
      AFFIRMED.  See Fed.Cir.R. 36.
    
    